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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

PARKWAY FOX, L.P., d/b/a                               CIVIL ACTION NO.
PARKWAY VILLAGE WEST
                                                       MAGISTRATE JUDGE
VERSUS

MASSACHUSETTS BAY INSURANCE
COMPANY



                                   NOTICE OF REMOVAL

         NOW INTO COURT, through undersigned counsel, comes defendant, Massachusetts

Bay Insurance Company (hereinafter “Mass Bay”), which pursuant to 28 U.S.C. §§ 1332, 1441,

and 1446, and with a full reservation of all rights and defenses, hereby removes the action styled

“Parkway Fox, L.P., d/b/a Parkway Village West v. Massachusetts Bay Insurance Company,”

No. CT-002822-13, Div. III from the Circuit Court of Shelby County, Tennessee for the Thirtieth

Judicial District at Memphis to the United States District Court for the Western District of

Tennessee, Western Division. This Court has subject matter jurisdiction over the claims of

Plaintiff, Parkway Fox, L.P. d/b/a Parkway Village West (“Plaintiff”), under 28 U.S.C. § 1332 as

the matter in controversy exceeds the sum of $75,000, exclusive of interest and costs, and is

properly between citizens of different states. Mass Bay respectfully submits that the grounds for

removal are as follows:

                          THE NOTICE OF REMOVAL IS TIMELY

                                                1.

         Plaintiff filed a Complaint (“the Complaint”) entitled “Parkway Fox, L.P., d/b/a Parkway

Village West v. The Massachusetts Bay Insurance Company,” No. CT-002822-13, Div. III on




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July 2, 2013, in the Circuit Court of Shelby County, Tennessee for the Thirtieth Judicial District

at Memphis, which is within the Western District of Tennessee, Western Division.

                                                 2.

         This Notice of Removal is being filed prior to service of the Plaintiff’s Complaint on

Mass Bay and less than one (1) year after the commencement of the action. Additionally, there

is no other defendant in this action. Accordingly, the Notice of Removal is timely pursuant to 28

U.S.C. § 1446(b).

                  THE PARTIES ARE CITIZENS OF DIFFERENT STATES

                                                 3.

         Upon information and belief, at the time Plaintiff filed its Complaint and Mass Bay filed

its Notice of Removal, Plaintiff was and is a domestic limited partnership organized under the

laws of Texas. Plaintiff’s general partner is PVF MGMT, LLC, a domestic limited liability

company organized under the laws of Texas and whose managing member is Hardam Azad, a

Texas resident.

                                                 4.

         At the time Plaintiff filed its Complaint and Mass Bay filed its Notice of Removal, Mass

Bay was and still is a New Hampshire corporation with its principal place of business in

Massachusetts.

                                                 5.

         Accordingly, there is complete diversity of citizenship between Plaintiff and Mass Bay.




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       THE AMOUNT IN CONTROVERSY EXCEEDS $75,000.00, EXCLUSIVE OF
                         INTEREST AND COSTS

                                                6.

         The Complaint seeks coverage under Mass Bay policy number ZDD 2727001-06 (the

“Policy”) for physical loss and damage to the alleged insured premises and continued damages

associated with the repair of the physical damage to the alleged insured premises.

                                                7.

         Although a specific amount in controversy is not alleged in the Complaint, the Policy at

issue carries a coverage limit of $8,977,280 for property coverage, which alone satisfies the

jurisdictional minimum. Additionally, Plaintiff seeks compensatory damages up to $1,500,000.

                                        JURISDICTION

                                                8.

         The above-described action is one over which this Honorable Court has original

jurisdiction pursuant to 28 U.S.C. § 1332, as the controversy is wholly between citizens of

different states and the amount in controversy exceeds the sum of $75,000, exclusive of interest

and costs. Therefore, in accord with 28 U.S.C. § 1441, this case may be removed to the United

States District Court for the Western District of Tennessee, Western Division.

                                                9.

         Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders which have

been received by Mass Bay are hereby attached to this Notice of Removal, along with the

entirety of the State Court records. See Exhibit A.




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                                                10.

         Concurrent with the filing of this Notice of Removal, written notice is being given to all

parties, and a copy of this Notice of Removal is being filed with the Clerk of Court for the

Circuit Court of Shelby County, Tennessee for the Thirtieth Judicial District at Memphis.

         WHEREFORE, defendant, Massachusetts Bay Insurance Company, prays that this, its

Notice of Removal, be deemed good and sufficient and that his aforesaid Complaint be removed

from the Circuit Court of Shelby County, Tennessee, for the Thirtieth Judicial District at

Memphis and that this Honorable Court enter such orders and issue such process as may be

proper to bring before it copies of all records and pleadings in such civil action from such state

court, and thereupon proceed with the civil action as if it had been commenced originally in this

Honorable Court.

                                              Respectfully submitted,

                                              DICKINSON WRIGHT PLLC



                                              BY:      /s/ John E. Anderson, Sr.
                                                      John E. Anderson, Sr., #13698
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                                                      Nashville, Tennessee 37219
                                                      Telephone: 615-244-6538


                                              ATTORNEY FOR DEFENDANT
                                              MASSACHUSETTS BAY INSURANCE
                                              COMPANY




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                                  CERTIFICATE OF SERVICE

         This is to certify that a copy of the foregoing was filed on this 25th day of July, 2013 with

the Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to

all participating counsel of record.




                                                /s/ John E. Anderson, Sr.
                                               John E. Anderson, Sr.

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